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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES - GENERAL


 Case No.          17-mc-00066-CBM-PJWx                                             Date      August 17, 2017


 Title          United States of America v. Exxon Mobil Oil Corp.



 Present: The Honorable               CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE

                       V.R. Vallery                                                  NOT REPORTED
                      Deputy Clerk                                                     Court Reporter


                 Attorneys Present for Plaintiff:                             Attorneys Present for Defendant:
                       NONE PRESENT                                                  NONE PRESENT


 Proceedings:
                               IN CHAMBERS- ORDER AND NOTICE TO ALL PARTIES RE:
                               RESPONDENT’S MOTION FOR LEAVE TO FILE SURREPLY IN
                               OPPOSITION TO PETITION TO ENFORCE ADMINISTRATIVE
                               SUBPOENAS ISSUED BY U.S. CHEMICAL SAFETY AND HAZARD
                               INVESTIGATION BOARD


        The matter before the Court is Respondent Exxon Mobile Oil Corporation’s Motion for Leave to File
Surreply in Opposition to Petition to Enforce Administrative Subpoenas Issued By U.S. Chemical Safety and
Hazard Investigation Board (the “Motion”). (Dkt. No. 21.) The Court finds the Motion is appropriate for decision
without additional oral argument.

         The Motion is DENIED.

        Accordingly, the August 29, 2017 date for the hearing on the Motion is vacated, and no appearance is
necessary on August 29, 2017.

        The hearing on the underlying Petition, currently set for August 29, 2017, is continued to October 17, 2017
at 10:00 a.m.


         IT IS SO ORDERED.




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CV-90 (12/02)                                       CIVIL MINUTES - GENERAL                      Initials of Deputy Clerk VV
